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   MOTSCHENBACHER & BLATTNER, LLP
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   Portland, OR 97204
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               Of Attorneys for Karamanos Holdings, Inc.,
               Debtor-in-Possession

   Douglas R. Ricks, OSB #044026
   VANDEN BOS & CHAPMAN, LLP
   319 SW Washington St., Ste. 520
   Portland, OR 97204
   Telephone: 503-241-4869
   Fax: 503-241-3731

               Of Attorneys for Sunshine Dairy Foods Management, LLC
               Debtors-in-Possession



                              IN THE UNITED STATES BANKRUPTCY COURT

                                       FOR THE DISTRICT OF OREGON

    In re                                                     Bankruptcy Case Nos.

    Sunshine Dairy Foods Management, LLC                      18-31644-pcm11 (Lead Case)
    and
    Karamanos Holdings, Inc.,                                 18-31646-pcm11

                                                              DEBTORS’ JOINT APPLICATION FOR
                       Debtors-in-Possession.                 AUTHORITY TO EMPLOY REAL
                                                              ESTATE BROKER
                                                              (CBRE Group, Inc.)

               The application of Debtor-in-Possession Karamanos Holdings, Inc. (“Debtor”), respectfully

   represent:

               1.     Debtor has filed a petition under Chapter 11 of the Bankruptcy Code.




Page 1 of 3         DEBTOR’S APPLICATION FOR AUTHORITY TO EMPLOY
{00086623:1}        REAL ESTATE BROKER (CBRE Group, Inc.)


                           Case 18-31644-pcm11         Doc 234     Filed 06/18/18
               2.    Debtor wishes to employ CBRE Group, Inc., Wells Fargo Center, 1300 SW Fifth

   Ave., Ste. 3000, Portland, OR 97201 (Phone: 503-221-1900) (“Professional”) as its real estate broker

   in this proceeding for purposes of listing and marketing the West Plant of Debtors located at 801 NE

   21st St., Portland, Oregon.

               3.    Debtor has selected Professional for the reason that Professional has extensive

   experience in analysis and marketing of office and retail buildings, warehouses, industrial parks,

   apartment properties and commercial land in the Portland area and the firm is a duly licensed real

   estate broker in the state of Oregon.

               4.    The professional services that Professional is to render include: providing brokerage

   and advisory services for the disposition of the Sunshine Dairy building and adjacent land parcels.

   As advisors, Professional will work collaboratively with Sunshine Dairy Foods Management, LLC

   and Karamanos Holdings, Inc. to strategically position the properties for sale and assemble materials

   that showcase the properties’ most compelling features and opportunities. In doing so, Professional

   will facilitate a dynamic marketing process that will expose the listing to a broad market of potential

   investors and result in the most competitive pricing the market will allow. Professional’s Brokers

   will oversee underwriting and analysis, conduct targeted marketing calls and property tours, and

   collect offers using a fair and confidential process, guiding negotiations to reach desired pricing.

   Professional will continue to be heavily involved in negotiations between Buyer and Debtors,

   coordinating the due diligence and closing process throughout the transaction. In addition to the

   services in this paragraph, services will be specifically set forth on the Listing Agreement between

   Debtor and Professional, which is forthcoming and will be filed immediately upon execution by both

   Debtor and Professional.




Page 2 of 3         DEBTOR’S APPLICATION FOR AUTHORITY TO EMPLOY
{00086623:1}        REAL ESTATE BROKER (CBRE Group, Inc.)


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               5.    To the best of Debtor’s knowledge, the Professional has no connection with the

   creditors or any other adverse party or its attorneys, except as disclosed in the Rule 2014 Verified

   Statement on file herein.

               6.    To the best of Debtor’s knowledge the Professional represents no interest adverse to

   Debtor or the estate, except as disclosed in the Rule 2014 Verified Statement on file herein.

               7.    The proposed rate of compensation is commission fee of four percent (4.0%) of gross

   sale price plus an incentive commission of an additional 0.1% for every $250,000 increment that the

   gross sales price exceeds $10.0 million. For example, if the gross sales price is $12 million CBRE’s

   commission will be $576,000. The commission is payable upon title being transferred to Purchaser

   of the listed properties.

               8.    The commission may be split with other brokers who are members of MLS who make

   sales in the ordinary course of business.

               9.    Attached as Exhibit A is a copy of the Professional’s resume which shows the

   qualifications of the Professional to perform the services required to be performed on behalf of the

   Debtors.

               WHEREFORE, Debtor prays that Debtor be authorized to employ and appoint Professional as

   real estate broker for Debtor in this proceeding.

                                                        MOTSCHENBACHER & BLATTNER LLP


                                                        By:/s/Nicholas J. Henderson
                                                          Nicholas J. Henderson, OSB #074027
                                                          Of Attorneys for Karamanos Holdings, Inc.




Page 3 of 3         DEBTOR’S APPLICATION FOR AUTHORITY TO EMPLOY
{00086623:1}        REAL ESTATE BROKER (CBRE Group, Inc.)


                           Case 18-31644-pcm11         Doc 234    Filed 06/18/18
    Jason Green
    Managing Director, Portland
    Licensed in Oregon & Washington


                                                                                        Professional Background
                                                     Jason Green is Managing Director for Oregon and SW Washington, where he leads 160
                                                     professionals who deliver leasing, asset services, facility management, project management and
                                                     portfolio real estate services in the region. A 21-year commercial real estate veteran who has been
                                                     with CBRE since 2004, Jason is an established expert in the Portland market. He is well known in the
                                                     local business community and is an active participant in civic and community activities.

                                                     Jason began his career with Grubb & Ellis in 1995 after graduating from UCLA, followed by four
                                                     years at Savills Studley before joining CBRE. During his 10-year stint as a top broker in the CBRE
                                                     Portland office, Jason was involved in the sale or lease of over 3.4 million square feet of office space.

                                                     With a proven track record of success, active leadership experience in the business community, and a
                                                     focus on client-centric solutions, Jason is a respected leader at CBRE and in the local market.
    T + 1 503 221 4810
    F + 1 503 221 4873
    jason.green@cbre.com

    1300 SW Fifth Avenue
                                                                                                 Achievements
    Suite 3000
    Portland, OR 97201                               •       Top 5 Producer for the Portland Office in 2009, 2010, 2011, 2012, 2013
                                                     •       Vancouver Business Journal's "Accomplished and Under 40" award in 2011
     Clients Represented                             •       Earned the prestigious William H. McCarthy Award in 2011, 2012 - CBRE's highest honor for
                                                             integrity, ethics and leadership
•     Arrow Electronics
•     BV Resources                                   •       Consistently ranked among CoStar's top "Power Brokers" in Portland
•     Cambia Health Solutions
•     Charles Schwab
•     Chase Bank
•
•
      Credit Suisse
      Educational Opportunities for Children and
                                                                                                   Credentials
      Families
•     ESCO
                                                         •   Licensed Real Estate Salesperson in Oregon and Washington
•     Hewlett Packard
•     Hitachi
      Iberdrola
•
•     ID Experts
                                                                                                    Education
•     Kalma Chemical
•     Key Bank                                           •    University of California, Los Angeles, Bachelor of Arts, History and Sociology
•     Killian Pacific Real Estate
•     Lane Powell
•     Language Solutions
•     LTX Credence                                                            Community & Professional Services
•     Markowitz, Herbold, Glade & Mehlhaf, P.C.
•     Morgan Stanley
•     Oregon Human Development Corporation           •       United Way of the Columbia-Willamette, Board Member
•     PS Business Parks
•     Raymond James Financial
                                                     •       Educational Opportunities for Children & Families (EOCF), Board Member
•     RBC Mortgage                                   •       Westside Economic Allowance, Board Member
•     RedSide Development                            •       CBRE African American Network Group (AANG), Executive Committee Member
•     Shorenstein Realty
•     State Farm                                     •       Portland State University Center for Real Estate, Advisory Board
•     Stewart Title
•     Trammell Crow Company
•     UBS Financial
      Western Electricity Coordinating Council
•
•     YOH Staffing Solutions
                                                              EXHIBIT A - Page 1 of 1
                                                   Case 18-31644-pcm11 Doc 234 Filed 06/18/18
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                                         UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF OREGON
                                                         18-31644-pcm11 (Lead Case)
    In re                                   )
                                                         18-31646-pcm11
    Sunshine Dairy Foods Management, ) Case    Case No.
                                                     No. _______________
    LLC; and                                )
    Karamanos Holdings, Inc.                ) RULE
                                               RULE2014
                                                      2014VERIFIED
                                                           VERIFIED STATEMENT
                                                                        STATEMENT
    Debtor(s)                               ) FOR
                                               FORPROPOSED
                                                     PROPOSEDPROFESSIONAL
                                                                   PROFESSIONAL
                                               (Real Estate Broker - CBRE Group, Inc.)
    Note: To
    Note:  Tofile
               filean
                    anamended
                       amendedversion
                               versionofofthis
                                           thisstatement
                                                statementper
                                                           per1119,
                                                               ¶19, file
                                                                     file aa fully
                                                                             fullycompleted
                                                                                   completedamended
                                                                                              amended Rule
                                                                                                      Rule 2014
                                                                                                           2014
                        #1114and
    statement on LBF #1114    andclearly
                                  clearlyidentify
                                           identify any
                                                    any changes
                                                        changes from
                                                                  from the
                                                                         the previous
                                                                              previous filed
                                                                                       filed version.

      1.
      1. The applicant is not a creditor of the debtor except:
    N/A

      2. The applicant
             applicant is not an equity
                                 equity security holder of the debtor.

      3. The applicant is not a relative
                                relative of
                                         of the
                                            the individual
                                                 individual debtor.

      4. The applicant is not a relative of a general
         The applicant                                partner of the debtor (whether
                                              general partner               (whether the
                                                                                     the debtor
                                                                                         debtor is
                                                                                                is an individual,
         corporation, or partnership).

      5. The  applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
         The applicant
         is a general partner.

      6. The applicant
             applicant is not a general
                                general partner
                                        partner of
                                                of the
                                                   the debtor (whether
                                                              (whether debtor
                                                                       debtor is
                                                                               is an
                                                                                  an individual, corporation, or
         partnership).

      7. The applicant
             applicant is
                       is not aa corporation
                                 corporation of which the debtor
                                                          debtor is
                                                                 is aa director,
                                                                       director, officer,
                                                                                 officer, or
                                                                                          or person in
                                                                                                    in control.
                                                                                                       control.

      8. The applicant
              applicant is not and was not,
                                         not, within
                                              within two years before the date of
                                                                               of the
                                                                                  the filing
                                                                                       filing of the petition,
                                                                                                     petition, a
         director, officer,
                   officer, or
                            or employee of the debtor.

      9. The applicant
             applicant is not a person
                                person in
                                       in control
                                          control of the debtor.

    10. The applicant
            applicant is not aa relative
                                relative of
                                         of aa director,
                                               director, officer
                                                         officer or
                                                                 or person in
                                                                           in control of the debtor.

    11. The applicant is not the managing agent of the debtor.

    12. The applicant is not and was  was not
                                          not an
                                               an investment
                                                   investment banker
                                                                 banker for for any
                                                                                any outstanding
                                                                                     outstanding security
                                                                                                   security of the debtor;
        has not been, within
                         within three years before the the date
                                                            date of
                                                                  of the
                                                                      the filing
                                                                           filing of the petition, an investment banker
              security of the debtor, or an
        for a security                       an attorney
                                                attorney for
                                                           for such
                                                               such an an investment
                                                                            investment banker
                                                                                         banker inin connection
                                                                                                     connection with the
                                         security of the debtor; and is not and was not, within two years before
        offer, sale, or issuance of a security
            date of
        the date  of the
                     the filing
                          filing of the petition, a director, officer,
                                                               officer, or
                                                                        or employee
                                                                              employee of such an investment banker.

    13. The applicant
            applicant has
                       has read
                            read 11
                                 11 U.S.C.
                                     U.S.C. §101(14)  and §327,
                                            §101(14) and  §327,and
                                                                and FRBP
                                                                      FRBP2014(a);
                                                                              2014(a);and
                                                                                        andthe
                                                                                            theapplicant's
                                                                                                applicant’s firm
                                                                                                            firm
        has no connections with the debtor(s), creditors, any party in interest,
                                                                       interest, their respective
                                                                                       respective attorneys and
        accountants, the United States Trustee,
                                         Trustee, or
                                                  or any person employed in the office of the United States
                 or any
        Trustee, or any District
                        District of Oregon Bankruptcy Judge, except
                                                                except asas follows:
                                                                             follows:
    None.




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          (11/30/09) Page    of 3

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    14.      applicant has no interest
    14. The applicant          interest materially
                                         materially adverse
                                                    adverse to
                                                            to the
                                                               the interest
                                                                   interest of
                                                                            of the
                                                                               the estate
                                                                                   estate or
                                                                                          or of any class of
        creditors or equity security holders.

    15.                                    made to
    15. Describe details of all payments made     to you
                                                     you by
                                                          by either
                                                             either the the debtor
                                                                            debtor or
                                                                                    or aa third
                                                                                           third party for any services
                 on the
        rendered on the debtor's
                         debtor's behalf
                                   behalf within
                                          within aa year
                                                    year prior
                                                         prior to
                                                                to filing
                                                                    filing of this case:
     N/A




    16.
    16. The debtor has the following
                            followingaffiliates
                                      affiliates(as
                                                 (asdefined
                                                     definedby by11
                                                                  11U.S.C.
                                                                     U.S.C.§101(2)).  Please list
                                                                            §101(2)). Please  list and explain
        the relationship between the debtor and the
                                                  the affiliate:
                                                      affiliate:
     Debtor is the managing member of Sunshine Dairy Foods Management, LLC; Debtor owns 94% of the
     outstanding membership interest of Sunshine Dairy Foods Management, LLC; Debtor owns 100% of
     the outstanding stock of Sunshine Dairy Enterprises, Inc.




    17.     applicant is not an affiliate of the debtor.
    17. The applicant

    18.
    18. Assuming any affiliate of the debtor
                                        debtor isis the
                                                    the debtor
                                                        debtor for for purposes
                                                                        purposesofofstatements
                                                                                     statements4-13,
                                                                                                  4-13, the statements
        continue to be true except (list
                                    (list all circumstances
                                              circumstances under which proposed counsel or counsel's law
        firm has represented any
                             any affiliate
                                   affiliate during the past 18   18 months;
                                                                        months; any position
                                                                                    position other than legal counsel
        which proposed
        which    proposed counsel
                          counsel holds
                                    holds in     either the
                                             in either    the affiliate,
                                                                affiliate, including
                                                                            including corporate
                                                                                       corporate officer,
                                                                                                   officer, director,
                                                                                                            director, or
                        any amount
        employee; and any   amount owed
                                      owed by by the
                                                  the affiliate
                                                       affiliate to
                                                                  to proposed
                                                                       proposed counsel
                                                                                 counsel or its law firm at the time of
        filing, and amounts paid within 18 months
                                              months before
                                                        before filing):
                                                                   filing):
     N/A




    19. The applicant hereby
    19. The            hereby acknowledges
                                acknowledges that
                                              that he/she
                                                   he/she has
                                                            has aaduty
                                                                  duty during
                                                                        during the progress of the case to keep
        the court informed of any change in the statement of facts which appear in     in this verified statement.
        In the event
               event that
                      that any
                           any such
                                such changes
                                      changes occur,
                                               occur, the
                                                       the applicant
                                                            applicant immediately
                                                                       immediately shall file with the court an
                   verified statement on LBF #1114,
        amended verified                      #1114,with
                                                       with the
                                                             the caption
                                                                 caption reflecting
                                                                          reflecting that itit is
                                                                                               is an
                                                                                                  an amended Rule
        2014 statement
        2014  statement and
                          and any
                               any changes
                                   changes clearly
                                           clearly identified.
                                                    identified.

    THE FOLLOWING QUESTIONS NEED
                            NEED BE
                                 BE ANSWERED
                                    ANSWERED ONLY
                                             ONLY IF
                                                  IF AFFILIATES
                                                     AFFILIATES HAVE BEEN LISTED
    IN STATEMENT 16.

    20. List the name of any affiliate which has ever
                                                 ever filed
                                                      filed bankruptcy, the filing date, and court where filed:
    Sunshine Dairy Foods Management, LLC; filed May 9, 2018, District of Oregon




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    21. List the names of any affiliates which have
                                                  have guaranteed  debt of the debtor or whose debt the debtor
                                                        guaranteed debt
         has guaranteed.    Alsoinclude
              guaranteed. Also   include the
                                         the amount of the guarantee, the date of the guarantee,
                                                                                       guarantee, and whether
              security interest
         any security   interestwas
                                  was given
                                       given to
                                              to secure
                                                 secure the
                                                          the guarantee.   Only name
                                                              guarantee. Only   name those
                                                                                       those guarantees
                                                                                             guarantees now
                                                                                                          now
         outstanding or outstanding within
                                       within the
                                              the last 18 months:
    Debtor has guaranteed the following debts of Sunshine Dairy Foods Management, LLC ("Sunshine"):
    Wells Fargo Equipment Finance (unconditional guarantee of equipment lease; dated 3/31/15; no
    security given); Strada Capital Corporation (unconditional guarantee of equipment lease; dated
    10/20/17; security interest described below).




         List the names of
    22. List                 of any
                                any affiliates
                                    affiliates which have aa debtor-creditor
                                                               debtor-creditor relationship
                                                                               relationship with
                                                                                              withthe
                                                                                                    the debtor.  Also
                                                                                                         debtor. Also
         include the
         include  the amount
                         amount and
                                  and date
                                       date ofof the loan, the amount
                                                                amount of any repayments
                                                                                repayments on  on the   loan and the
                                                                                                   the loan
         security, ifif any. Only name
                        any. Only  namethose
                                           thoseloans
                                                  loansnow
                                                        nowoutstanding
                                                             outstanding or
                                                                         or paid
                                                                            paid off
                                                                                  off within
                                                                                      within the last 18 months:
                                                                                                          months:
    See attached Continuation Statement No. 22.




    23. List any security interest inin any property
                                              property granted by the debtor to secure any debts of any affiliate
         not covered
         not  covered inin statements
                           statements 2020 and 21. List Listany
                                                             anysecurity
                                                                 security interest
                                                                            interest in
                                                                                      in any
                                                                                         any property
                                                                                              property granted by the
         affiliate to
                   to secure
                      secure any debts
                                  debts of
                                         of the
                                             the debtor
                                                  debtor not
                                                          notcovered
                                                              coveredin instatements
                                                                           statements21   21 and
                                                                                             and 22.  Also include
                                                                                                 22. Also  include the
         collateral, the
         collateral,  the date and nature of the the security
                                                      security interest,
                                                               interest, the
                                                                          the name of the the creditor
                                                                                              creditor to whom it was
         granted, and thethe current
                             current balance
                                     balance of of the
                                                   the underlying
                                                       underlying debt:
    See attached Continuation Statement No. 23.




    24. List the name  name of  of any
                                    any affiliate
                                          affiliate who
                                                     who is is potentially
                                                               potentially aa "responsible
                                                                                 "responsible party" for
                                                                                                     for unpaid
                                                                                                         unpaid taxes of the debtor
            under    26  U.S.C.
           under 26 U.S.C.          §6672:
    None.
    ----------------------------------------------------------------------------------------------
    No one at CBRE Group, Inc. has knowledge as to Statement Nos. 16 and 20 - 24.




    I verify that the above statements are true to the extent of my present knowledge and belief.


                                                                                _______________________________
                                                                                /s/ Jason Green
                                                                                               Applicant

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                  Sunshine Dairy
            In re Sunshine Dairy Foods
                                 Foods Management,
                                        Management, LLC;
            Ch 11 Bankruptcy Case No. 18-31644-pcm11
            In re Karamanos Holdings, Inc.;
            Ch 11 Bankruptcy Case No. 18-31646-pcm11



            Continuation Statement No. 22:

                    1. Sunshine ($489,332.29 Loan) - Obligation stems from a 5/4/11 unsecured loan
                    1.
            for $400,000 and a 1/22/13 unsecured loan for $89,332.29, which were consolidated for
            repayment on 9/23/15. AA total
                                        total of
                                              of 16
                                                 16 monthly
                                                    monthly installments
                                                             installments of $10,311.41 (a total of
            $164,982.56) were paid to the Debtor
                                              Debtor by
                                                     by Sunshine
                                                        Sunshine in in the
                                                                        the last
                                                                             last 18
                                                                                  18 months.
                                                                                     months. Current balance on
            this loan after the last payment made on 3/23/18 is $195,005.39.

                    2. Sunshine ($100,000 Loan) -- Obligation
                    2.                             Obligation stems
                                                              stems from
                                                                     from aa 6/1/15
                                                                             6/1/15 unsecured
                                                                                    unsecuredloan.
                                                                                              loan. A
            total of $34,813.89 was paid to the Debtor by Sunshine in the last 18 months, the final
            payment of which paid off the loan in June 2017.

                   3.          (Equipment Lease)
                   3. Sunshine (Equipment  Lease) —
                                                  – Obligation
                                                      Obligation stems
                                                                 stems from
                                                                        from aa 5/1/07
                                                                                5/1/07 lease that was
            further amended on 5/9/08, 1/1/11, and 1/1/12 and relates to the lease of equipment for
            Sunshine’s operations with a stated cost
            Sunshine's                          cost value
                                                     value of
                                                           of $9,731,942.00.
                                                               $9,731,942.00. Lease payments, under
            the most recent amendment, are
                                         are $26,961.17
                                             $26,961.17 per
                                                          per month.
                                                              month. All pre-petition lease
            payments have been deferred.

                                  (Commercial Lease)
                   4. Sunshine (Commercial     Lease) — – Obligation
                                                          Obligation stems
                                                                     stems from
                                                                             from aa 5/1/07
                                                                                     5/1/07 lease that
            relates to the lease of real property and improvements for Sunshine’s
                                                                           Sunshine's operations located at
                      21st Ave.,
            801 NE 21st    Ave., Portland, OR; 915 NE   21st Ave., Portland, OR;
                                                   NE 21st                    OR; 925
                                                                                   925 NE   25th Ave.,
                                                                                        NE 25th
            Portland, OR; and 8440 NE Halsey St., St., Portland,
                                                       Portland, OR.   Base rent payments as of the
                                                                  OR. Base
            date of the petition are $40,373.49 with additional rent payments for taxes, insurance,
                           Sunshine paid
            and utilities. Sunshine   paid $200,000
                                           $200,000 to
                                                     to Debtor
                                                        Debtor on
                                                                on May
                                                                   May 8,8, 2018
                                                                            2018 on account of such lease; all
            outstanding pre-petition lease payments have been deferred.




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                  Sunshine Dairy
            In re Sunshine Dairy Foods
                                 Foods Management,
                                        Management, LLC;
            Ch 11 Bankruptcy Case No. 18-31644-pcm11
            In re Karamanos Holdings, Inc.;
            Ch 11 Bankruptcy Case No. 18-31646-pcm11



            Continuation Statement No. 23:

                   1.
                   1.    First Business Capital Corporation: Co-debtor on note and line of credit
            with Sunshine; collateral pledged is all assets wherever located of the debtor (reciprocal
            pledge by Sunshine); UCC-1 filed on 10/18/17; current balance of $9,027,482.

                    2.
                    2.     Strada Capital Corporation/LCA Bank Corporation: Listed as co-debtor
            with Sunshine on UCC-1; collateral pledged is all equipment and other personal property,
            including but not limited to furniture, fixtures and equipment subject to that certain
            Agreement Number 10-015884 / 196297 dated 10/02/2017 between Secured Party as
            Lessor/Creditor and Sunshine as Lessee/Debtor, and subject to any and all existing and
            future schedules entered into pursuant to and incorporating said Agreement, together
            with all accessories, parts, attachments and appurtenances appertaining or attached to
            any of the equipment, and all substitutions, trade-ins, renewals and replacements of and
            improvements and accessions to the Equipment. (1) A+F packer format change from
            80mm cups to 95mm Phoenix, 5.3oz Greek cup, pack pattern 3x4 and modify to run
            carton from International Paper as per sample at production speed of up to 240 cpm.
            (identical pledge by debtor and Sunshine); UCC-1 filed on 10/30/17; 48 month lease (43
            remaining) with monthly payments of $2,569.67

                    3.
                    3.     Access Business Finance, LLC: Co-debtor on note with Sunshine; collateral
            pledged is all present and future assets of the debtor (reciprocal pledge by Sunshine); UCC-1
            filed on 10/24/13; Security interest terminated on 2/6/18 (loan paid with proceeds from
            First Business Capital Corporation loan)




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In re Sunshine Dairy Foods Management, LLC
Ch 11 Bankruptcy Case No. 18-31646-pcm11
In re Karamanos Holdings, Inc.;
Chapter 11 Bankruptcy Case No. 18-31646-pcm11

                                    CERTIFICATE - TRUE COPY

DATE:               June 18, 2018

DOCUMENT:          DEBTOR’S APPLICATION FOR AUTHORITY TO EMPLOY REAL
                   ESTATE BROKER (CBRE Group, Inc.) and RULE 2014 VERIFIED
                   STATEMENT FOR PROPOSED PROFESSIONAL (Real Estate Broker –
                   CBRE GROUP, INC.

        I hereby certify that I prepared the foregoing copy of the foregoing named document and
have carefully compared the same with the original thereof and it is a correct copy therefrom and
of the whole thereof.

                                    CERTIFICATE OF SERVICE

         I hereby certify that I served a copy of the foregoing on:

 Sunshine Dairy Foods             Valley Falls Farm, LLC                          Sorrento Lactalis, Inc.
   Management, LLC                c/o Bryan P. Coluccio, V.P. and                 c/o Phillips Lytle LLP
 Attn: Norman Davidson, III       General Counsel Keystone-Pacific, LLC           Attn: Angela Z. Miller
 801 NE 21st Ave.                 18555 SW Teton Avenue                           125 Main Street
 Portland, OR 97232               Tualatin, OR 97062                              Buffalo, NY 14203
                                  (Un. Sec. Cred. Comm. Chairperson)
 Karamanos Holdings, Inc.
 Attn: Norman Davidson, III       Scott Laboratories Inc.
 801 NE 21st Ave.                 Attn: Jill Skoff, Accting Assistant
 Portland, OR 97232               PO Box 4559
                                  Petaluma, CA 94955

by mailing a copy of the above-named document to each of them in a sealed envelope, addressed
to each of them at his or her last known address. Said envelopes were deposited in the Post
Office at Portland, Oregon, on the above date, postage prepaid.
       I hereby certify that the foregoing document was served on all CM/ECF participants
through the Court's Case Management/Electronic Case File system on the date set forth below.

         Dated: June 18, 2018

                                             MOTSCHENBACHER & BLATTNER, LLP



                                             By:/s/Nicholas J. Henderson
                                               Nicholas J. Henderson, OSB #074027
                                               Of Attorneys for Karamanos Holdings, Inc.



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